Filed 06/04/19                                                             Case 19-23604                                                                    Doc 1

  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                     amended filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                12/17
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
 all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.


  Part 1:   Identify Yourself

                                     About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

  1.   Your full name

       Write the name that is on     Rachael
       your government-issued        First name                                                       First name
       picture identification (for
       example, your driver's        Leigh
       license or passport).         Middle name                                                      Middle name
       Bring your picture
       identification to your
                                     Konz
       meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




  2.   All other names you have
       used in the last 8 years
       Include your married or
       maiden names.



  3.   Only the last 4 digits of
       your Social Security
       number or federal             xxx-xx-4848
       Individual Taxpayer
       Identification number
       (ITIN)




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  Debtor 1   Rachael Leigh Konz                                                                         Case number (if known)




                                   About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

  4.   Any business names and
       Employer Identification
       Numbers (EIN) you have       I have not used any business name or EINs.                   I have not used any business name or EINs.
       used in the last 8 years

       Include trade names and     Business name(s)                                              Business name(s)
       doing business as names

                                   EINs                                                          EINs




  5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                   573 Ramos Drive
                                   Folsom, CA 95630
                                   Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                   Sacramento
                                   County                                                        County

                                   If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                   above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                   notices to you at this mailing address.                       mailing address.



                                   Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




  6.   Why you are choosing        Check one:                                                    Check one:
       this district to file for
       bankruptcy                        Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                          I have lived in this district longer than in any               have lived in this district longer than in any other
                                          other district.                                                district.

                                         I have another reason.                                        I have another reason.
                                          Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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  Debtor 1    Rachael Leigh Konz                                                                           Case number (if known)



  Part 2:    Tell the Court About Your Bankruptcy Case

  7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
       Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       choosing to file under
                                Chapter 7
                                      Chapter 11
                                      Chapter 12
                                      Chapter 13



  8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                          about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                          order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                          a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                          The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                          but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                          applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                          the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



  9.   Have you filed for
       bankruptcy within the
                                    No.
       last 8 years?                Yes.
                                               District                                  When                            Case number
                                               District                                  When                            Case number
                                               District                                  When                            Case number



  10. Are any bankruptcy
      cases pending or being
                                    No
      filed by a spouse who is      Yes.
      not filing this case with
      you, or by a business
      partner, or by an
      affiliate?
                                               Debtor                                                                   Relationship to you
                                               District                                  When                           Case number, if known
                                               Debtor                                                                   Relationship to you
                                               District                                  When                           Case number, if known



  11. Do you rent your
      residence?
                                    No.        Go to line 12.

                                    Yes.       Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                          this bankruptcy petition.




  Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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  Part 3:    Report About Any Businesses You Own as a Sole Proprietor

  12. Are you a sole proprietor
      of any full- or part-time       No.       Go to Part 4.
      business?
                                      Yes.      Name and location of business
       A sole proprietorship is a
       business you operate as                   Name of business, if any
       an individual, and is not a
       separate legal entity such
       as a corporation,
       partnership, or LLC.
                                                 Number, Street, City, State & ZIP Code
       If you have more than one
       sole proprietorship, use a
       separate sheet and attach
       it to this petition.                      Check the appropriate box to describe your business:
                                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        None of the above

  13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
      Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
      you a small business           in 11 U.S.C. 1116(1)(B).
      debtor?

       For a definition of small
                                      No.       I am not filing under Chapter 11.

       business debtor, see 11
       U.S.C. § 101(51D).             No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                 Code.

                                      Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


  Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

  14. Do you own or have any
      property that poses or is
                                      No.
      alleged to pose a threat        Yes.
      of imminent and                          What is the hazard?
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                      If immediate attention is
      immediate attention?                     needed, why is it needed?

       For example, do you own
       perishable goods, or
       livestock that must be fed,             Where is the property?
       or a building that needs
       urgent repairs?
                                                                             Number, Street, City, State & Zip Code




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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  Debtor 1    Rachael Leigh Konz                                                                         Case number (if known)

  Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                       About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
  15. Tell the court whether           You must check one:                                           You must check one:
      you have received a
      briefing about credit
                                        Icounseling
                                             received a briefing from an approved credit
                                                        agency within the 180 days before I
                                                                                                      I received a briefing from an approved credit
                                                                                                         counseling agency within the 180 days before I filed
      counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                           certificate of completion.                                    completion.
       The law requires that you
       receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
       credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
       you file for bankruptcy.
       You must truthfully check          I received a briefing from an approved credit                I received a briefing from an approved credit
       one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
       choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
       so, you are not eligible to         a certificate of completion.                                  of completion.
       file.
                                           Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
       If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
       can dismiss your case, you          payment plan, if any.                                         any.
       will lose whatever filing fee
       you paid, and your                 I certify that I asked for credit counseling                 I certify that I asked for credit counseling services
       creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
       collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                           days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                           circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                           of the requirement.
                                                                                                         To ask for a 30-day temporary waiver of the requirement,
                                           To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                           requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                           what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                           you were unable to obtain it before you filed for             circumstances required you to file this case.
                                           bankruptcy, and what exigent circumstances
                                           required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                         with your reasons for not receiving a briefing before you
                                           Your case may be dismissed if the court is                    filed for bankruptcy.
                                           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                           If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                           still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                           You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                           agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                           developed, if any. If you do not do so, your case
                                                                                                         Any extension of the 30-day deadline is granted only for
                                           may be dismissed.
                                                                                                         cause and is limited to a maximum of 15 days.
                                           Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15
                                           days.
                                          I am not required to receive a briefing about                I am not required to receive a briefing about credit
                                           credit counseling because of:                                 counseling because of:

                                                Incapacity.                                                 Incapacity.
                                                 I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                                 that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                                 making rational decisions about finances.                    decisions about finances.

                                                Disability.                                                 Disability.
                                                 My physical disability causes me to be                       My physical disability causes me to be unable to
                                                 unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                                 by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                                 reasonably tried to do so.                                   do so.

                                                Active duty.                                                Active duty.
                                                 I am currently on active military duty in a                  I am currently on active military duty in a military
                                                 military combat zone.                                        combat zone.
                                           If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                           briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                           motion for waiver credit counseling with the court.           of credit counseling with the court.




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Filed 06/04/19   Case 19-23604   Doc 1
Filed 06/04/19                                                                           Case 19-23604                                                                                                Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Rachael Leigh Konz
                                First Name                           Middle Name                          Last Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name                          Last Name


     United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)
                                                                                                                                                                         Check if this is an
                                                                                                                                                                          amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                         Your assets
                                                                                                                                                                         Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             550,000.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $             290,961.33

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             840,961.33

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $          2,272,809.21

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $                      0.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $             596,499.74


                                                                                                                                         Your total liabilities $                 2,869,308.95


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                5,269.00

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $              10,347.37

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

              Yes
     7.     What kind of debt do you have?

                   Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                    household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                    the court with your other schedules.
     Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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Filed 06/04/19                                                             Case 19-23604                                                                  Doc 1
     Debtor 1      Rachael Leigh Konz                                                         Case number (if known)

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

           9d. Student loans. (Copy line 6f.)                                                                 $              0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $              0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


           9g. Total. Add lines 9a through 9f.                                                           $                 0.00




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
Filed 06/04/19                                                                               Case 19-23604                                                                                 Doc 1
     Fill in this information to identify your case and this filing:

     Debtor 1                    Rachael Leigh Konz
                                 First Name                                 Middle Name                    Last Name

     Debtor 2
     (Spouse, if filing)         First Name                                 Middle Name                    Last Name


     United States Bankruptcy Court for the:                      EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                                                                                    Check if this is an
                                                                                                                                                                     amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                          12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes.      Where is the property?




     1.1                                                                            What is the property? Check all that apply
            573 Ramos Drive
            Street address, if available, or other description
                                                                                          Single-family home                         Do not deduct secured claims or exemptions. Put
                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                           Duplex or multi-unit building
                                                                                                                                     Creditors Who Have Claims Secured by Property.
                                                                                           Condominium or cooperative
                                                                                      
                                                                                          Manufactured or mobile home
                                                                                                                                      Current value of the      Current value of the
            Folsom                            CA        95630-0000                        Land                                       entire property?          portion you own?
            City                              State              ZIP Code                 Investment property                            $1,100,000.00                 $550,000.00
                                                                                          Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                          Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                    Who has an interest in the property? Check one    a life estate), if known.
                                                                                          Debtor 1 only                              50% Undivided
            Sacramento                                                                    Debtor 2 only
            County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                          At least one of the debtors and another        (see instructions)
                                                                                    Other information you wish to add about this item, such as local
                                                                                    property identification number:
                                                                                    Debtor has 1/2 interest in residence with her mother, who also resides there.


     2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
        pages you have attached for Part 1. Write that number here...........................................................................=>                      $550,000.00

     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




    Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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Filed 06/04/19                                                                        Case 19-23604                                                                                  Doc 1
     Debtor 1        Rachael Leigh Konz                                                                                 Case number (if known)

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes

      3.1    Make:    Mercedes Benz                                Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
             Model:   AMG GLE 43 Coupe                              Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
             Year:    2018                                          Debtor 2 only                                                Current value of the      Current value of the
             Approximate mileage:   10,500                          Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
             Other information:                                     At least one of the debtors and another
            Leased Vehicle
                                                                    Check if this is community property                                  $66,645.00                 $66,645.00
                                                                         (see instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes


     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>                 $66,645.00


     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.
    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
        No
         Yes.     Describe.....

                                        Household Goods and Furnishings
                                        See attached Sch A/B, Item 6 detail sheet                                                                                       $4,325.00


    7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                  including cell phones, cameras, media players, games
        No
         Yes.     Describe.....

                                        Electronics
                                        See attached Sch A/B, Item 7 detail sheet                                                                                       $3,010.00


    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                   other collections, memorabilia, collectibles
        No
         Yes.     Describe.....

                                        95 Miscellaneous Books                                                                                                            $475.00


    9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                 musical instruments
        No

    Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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Filed 06/04/19                                       Case 19-23604                   Doc 1


           Debtor: Konz, Rachael Leigh
           Schedule A/B - Property
           Part 3, No. 6 - Household Goods & Furnishings



           Quantity                                   Description    Market Value
              1       Sofa                                                 $150.00
              2       Club Chairs                                          $100.00
              1       Ottoman                                               $50.00
              1       End Table                                             $25.00
              1       Nesting Tables (3-Set)                                $45.00
              9       Lamps                                                $180.00
              1       Media Console (Blk)                                  $100.00
              2       Martini Tables                                        $40.00
              1       Desk (Child's)                                        $45.00
              1       Desk (Table Desk-Office)                              $50.00
              1       Large Filing Cabinet (Office)                         $85.00
              2       Filing Cabinets (Mint)                                $80.00
              1       Office Chair                                          $50.00
              1       Desk Chair (Child's)                                  $15.00
              1       Burlap Office Side Table                              $35.00
              1       Miscellaneous Wall Décor                             $350.00
              3       Wall Mirrors                                         $105.00
              1       Dining Table                                         $150.00
              9       Dining Chairs                                        $225.00
              1       Buffet (Mirrored)                                    $150.00
              1       Rug 8x10 (Ruined)                                      $5.00
              1       Rug 9x12 (Ruined)                                      $5.00
              1       Rug 4x6 (Ruined)                                       $5.00
              2       Benches                                              $100.00
              1       Cal-King Bed (Mattress, Box Spring, Frame)           $200.00
              2       Bedside Tables                                        $70.00
              1       Decorative Chair                                      $40.00
              1       Full-Sized Bed (Mattress, Box Spring, Frame)         $150.00
              1       Bedside Table (Nesting Set x3)                        $30.00
              1       Dresser (Children's)                                  $55.00
              1       Metal Cabinet                                         $50.00
              2       Bean Bag Chairs                                       $50.00
              1       Miscellaneous Linens (Full Sized)                     $30.00
              1       Miscellaneous Linens                                 $100.00
              1       Kitchen Table                                         $75.00
              6       Chairs (Kitchen Table)                               $120.00
              4       Bar Stools                                            $80.00
              1       Miscellaneous Small Kitchen Appliances               $100.00
              1       Miscellanous Cookware                                $150.00
              1       Miscellaneous Dishes and Utensils                     $80.00
              1       Miscellaneous Cooking Gadgets and Tools              $100.00
              1       Console Table                                         $40.00
              1       Miscellaneous Patio Furniture                        $100.00
              1       Miscellaneous Hand Tools                             $200.00
              1       Miscellaneous Garden Tools                            $25.00
              1       Shop-Vac                                              $10.00
Filed 06/04/19                                      Case 19-23604                                    Doc 1


                 1   Hardwood Floor Vacuum                                                 $40.00
                 1   Canister Vacuum                                                       $40.00
                 1   Miscellaneous Cleaning Supplies                                       $25.00
                     Miscellaneous Decorative Items (Old Books, Artificats, Decorative
                 1   Vases/Trays, Holiday Decorations)                                    $200.00
                 1   Entry Table                                                           $20.00

                                                                Total:                   $4,325.00
Filed 06/04/19                                    Case 19-23604                       Doc 1


           Debtor: Konz, Rachael Leigh
           Schedule A/B - Property
           Part 3, No. 7 - Electronics


           Quantity                                Description        Market Value
              1       72" Television                                        $300.00
              3       Apple TV Devices                                      $120.00
              2       DVD Players                                            $40.00
              3       Printer/Scanner/Fax Machines                          $255.00
              1       Desktop (Apple)                                       $400.00
              1       Laptop (Apple - Damaged)                               $50.00
              1       iPhone 6s                                             $150.00
              1       iPad Mini                                              $50.00
              1       iPad Pro (Screen Damaged)                             $100.00
              1       Samsung Point and Shoot Camera                         $25.00
              2       47" Televisions                                       $200.00
              1       42" Television                                         $50.00
              1       Marantz Music System                                  $150.00
              1       Panamax Speaker System                                 $75.00
              2       Universal Remotes                                     $260.00
              1       Subwoofer                                              $25.00
              1       Yamaha Sound System                                   $100.00
              1       Towel Warmer                                          $250.00
              1       Clothing Steamer                                       $40.00
              1       Nintendo Wii                                           $45.00
              6       Nintendo Wii Games                                     $30.00
              1       Red Light Therapy Device                              $200.00
             10       CDs                                                    $20.00
             15       DVDs                                                   $75.00

                                                             Total:       $3,010.00
Filed 06/04/19                                                                                       Case 19-23604                                                                 Doc 1
     Debtor 1          Rachael Leigh Konz                                                                                       Case number (if known)

         Yes.       Describe.....

                                                Sports and Hobby Equipment
                                                See attached Sch A/B, Item 9 detail sheet                                                                               $750.00


    10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
         No
         Yes.       Describe.....

    11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
         Yes.       Describe.....

                                                Miscellaneous Women's Clothing                                                                                        $1,900.00


                                                Miscellaneous Children's Clothing                                                                                       $585.00


    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
         Yes.       Describe.....

                                                Jewelry
                                                See attached Sch A/B, Item 12 detail sheet                                                                            $7,750.00


    13. Non-farm animals
        Examples: Dogs, cats, birds, horses
        No
         Yes.       Describe.....

                                                French Bulldog                                                                                                            $50.00


                                                Yellow Labrador                                                                                                         $100.00


    14. Any other personal and household items you did not already list, including any health aids you did not list
         No
         Yes.       Give specific information.....


     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                                      $18,945.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                         Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

    16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
         Yes................................................................................................................
                                                                                                                                   Cash                                     $9.00


    Official Form 106A/B                                                                      Schedule A/B: Property                                                        page 3
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           Debtor: Konz, Rachael Leigh
           Schedule A/B - Property
           Part 3, No. 9 - Sports & Hobby Equipment


           Quantity                                Description                                  Market Value
              1     Misc. Sports Equipment (Baseball Mits, Baseballs, Volleyball, etc.)                $50.00
              1     10" Trampoline with Safety Net                                                    $450.00

                 1   Miscellaneous Yoga Equipment (Mats, Towels, Blocks, Magic Circle, etc.)           $75.00
                 1   Miscellaneous Workout Weights Set (DVDs, Hand Weight Set, etc.)                   $20.00
                     Miscellaneous Musical Theater Costumes / Supplies (Costumes-Child, Make-
                 1   Up, Undergarments, etc.)                                                          $30.00
                     Miscellaneous Beauty Supplies (Hair Electronics, Make-Up, Skin Care
                 1   Devices and Supplies, etc.)                                                     $125.00

                                                                 Total:                               $750.00
Filed 06/04/19                                      Case 19-23604                          Doc 1


           Debtor: Konz, Rachael Leigh
           Schedule A/B - Property
           Part 3, No. 12 - Jewelry


           Quantity                                     Description        Market Value
              1       Cartier Women's Tank Watch                               $1,500.00
              1       Lana Gold Necklace                                         $400.00
              1       Pearl Single Strand Necklace                               $300.00
              1       David Yurman Link Bracelet                                 $550.00
              1       Diamond Ring                                             $4,250.00
              1       Tiffany Silver Ring                                        $350.00
              1       Gold Hoop Earrings (Set)                                   $250.00
              3       Tiffany Silver Beaded Necklaces                            $150.00

                                                                  Total:       $7,750.00
Filed 06/04/19                                                                  Case 19-23604                                                                  Doc 1
     Debtor 1       Rachael Leigh Konz                                                                     Case number (if known)


    17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                      institutions. If you have multiple accounts with the same institution, list each.
        No
        Yes........................                                     Institution name:


                                          17.1.    Checking - 2315              Wells Fargo Bank                                                        $0.00


                                                   Money Market -
                                          17.2.    4763                         Merrill Lynch                                                     $8,875.70



                                          17.3.    Checking - 0900              Chevron Federal Credit Union                                          $13.17



                                          17.4.    Savings - 0100               Chevron Federal Credit Union                                          $25.06


                                                   Money Market -
                                          17.5.    0400                         Chevron Federal Credit Union                                            $0.05


                                                   Bill Pay Account -
                                          17.6.    8834                         Wells Fargo Bank                                                        $0.00



                                          17.7.    HSA Cash Account             Bank of America                                                         $0.00



                                          17.8.    Checking - 6946              U.S. Bank                                                         $2,015.94


    18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts
         No
         Yes..................                   Institution or issuer name:

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
        joint venture
         No
         Yes.     Give specific information about them...................
                                         Name of entity:                                                       % of ownership:

    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
         No
         Yes. Give specific information about them
                                             Issuer name:

    21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
         Yes. List each account separately.
                                          Type of account:                      Institution name:

                                          IRA - 4787                            Merrill Lynch                                                 $127,865.78


                                          401(k)                                Bank of America                                                 $42,476.28

    Official Form 106A/B                                                 Schedule A/B: Property                                                         page 4
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Filed 06/04/19                                                               Case 19-23604                                                                        Doc 1
     Debtor 1        Rachael Leigh Konz                                                                        Case number (if known)


                                           401(k) SIP                        Merrill Lynch                                                                 $0.00


    22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
         No
         Yes. .....................                                         Institution name or individual:

    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
         No
         Yes.............             Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............     Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


                                       Franklin Templeton Franklin Founding Funds §529 Portfolio for benefit of daughter                           $23,670.45


    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
         No
         Yes.     Give specific information about them...

    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
         No
         Yes.     Give specific information about them...

    27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
         Yes.     Give specific information about them...

                                                  California Insurance License                                                                             $0.00


                                                  Series 7 General Securities Representative License [Suspended]                                           $0.00


                                                  Series 66 License [Suspended]                                                                            $0.00


                                                  Series 65 License [Suspended]                                                                            $0.00


     Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

    28. Tax refunds owed to you
         No
         Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


    29. Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
         No
         Yes. Give specific information......


    Official Form 106A/B                                                 Schedule A/B: Property                                                            page 5
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Filed 06/04/19                                                                            Case 19-23604                                                                                     Doc 1
     Debtor 1        Rachael Leigh Konz                                                                                               Case number (if known)

    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                  benefits; unpaid loans you made to someone else
         No
         Yes.      Give specific information..

    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
         No
         Yes. Name the insurance company of each policy and list its value.
                                                 Company name:                                                            Beneficiary:                             Surrender or refund
                                                                                                                                                                   value:

    32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
        someone has died.
         No
         Yes.      Give specific information..


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
         Yes.      Describe each claim.........

                                                              Morgan Stanley initiated a levy of Debtor's Wells Fargo bank
                                                              account on 24-May-2019. The monies in account were disability
                                                              benefits and exempt.                                                                                               $419.90


    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
         Yes.      Describe each claim.........

                                                              Potential discrimination claim                                                                                    Unknown


    35. Any financial assets you did not already list
        No
         Yes.      Give specific information..

                                                              Merrill Lynch ESPP Account                                                                                             $0.00


                                                              Bank of America HSA Investment Account                                                                                 $0.00


                                                              Bank of America Equity & LT Cash Plan                                                                                  $0.00


     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
         for Part 4. Write that number here.....................................................................................................................        $205,371.33


     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?
        No. Go to Part 6.
        Yes.     Go to line 38.




    Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 6
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Filed 06/04/19                                                                                Case 19-23604                                                                                 Doc 1
     Debtor 1         Rachael Leigh Konz                                                                                                    Case number (if known)

     Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes.      Go to line 47.


     Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership
         No
         Yes. Give specific information.........

     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00

     Part 8:         List the Totals of Each Part of this Form

     55. Part 1: Total real estate, line 2 ......................................................................................................................          $550,000.00
     56. Part 2: Total vehicles, line 5                                                                          $66,645.00
     57. Part 3: Total personal and household items, line 15                                                     $18,945.00
     58. Part 4: Total financial assets, line 36                                                                $205,371.33
     59. Part 5: Total business-related property, line 45                                                             $0.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
     61. Part 7: Total other property not listed, line 54                                             +               $0.00

     62. Total personal property. Add lines 56 through 61...                                                    $290,961.33               Copy personal property total      $290,961.33

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $840,961.33




    Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 7
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
Filed 06/04/19                                                                  Case 19-23604                                                                                Doc 1
     Fill in this information to identify your case:

     Debtor 1                 Rachael Leigh Konz
                              First Name                        Middle Name                     Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name                     Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                      4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
    case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions.             11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                    portion you own
                                                                   Copy the value from      Check only one box for each exemption.
                                                                   Schedule A/B

          573 Ramos Drive Folsom, CA 95630                                                                                           C.C.P. § 704.730(a)(3)
          Sacramento County
                                                                         $550,000.00                               $175,000.00
          Debtor has 1/2 interest in residence with                                              100% of fair market value, up to
          her mother, who also resides there.                                                     any applicable statutory limit
          Line from Schedule A/B: 1.1

          2018 Mercedes Benz AMG GLE 43                                                                                              C.C.P. § 704.010
          Coupe 10,500 miles
                                                                          $66,645.00                                  $3,325.00
          Leased Vehicle                                                                         100% of fair market value, up to
          Line from Schedule A/B: 3.1                                                             any applicable statutory limit

          Household Goods and Furnishings                                                                                            C.C.P. § 704.020
          See attached Sch A/B, Item 6 detail
                                                                           $4,325.00                                  $4,325.00
          sheet                                                                                  100% of fair market value, up to
          Line from Schedule A/B: 6.1                                                             any applicable statutory limit

          Electronics                                                                                                                C.C.P. § 704.020
          See attached Sch A/B, Item 7 detail
                                                                           $3,010.00                                  $3,010.00
          sheet                                                                                  100% of fair market value, up to
          Line from Schedule A/B: 7.1                                                             any applicable statutory limit

          95 Miscellaneous Books                                                                                                     C.C.P. § 704.020
          Line from Schedule A/B: 8.1
                                                                              $475.00                                   $475.00
                                                                                                 100% of fair market value, up to
                                                                                                  any applicable statutory limit



    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 3
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Filed 06/04/19                                                                  Case 19-23604                                                                                Doc 1
     Debtor 1    Rachael Leigh Konz                                                                          Case number (if known)

         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Sports and Hobby Equipment                                                                                                   C.C.P. § 704.020
         See attached Sch A/B, Item 9 detail
                                                                             $750.00                                  $750.00
         sheet                                                                                100% of fair market value, up to
         Line from Schedule A/B: 9.1                                                           any applicable statutory limit

         Miscellaneous Women's Clothing                                                                                               C.C.P. § 704.020
         Line from Schedule A/B: 11.1
                                                                           $1,900.00                                $1,900.00
                                                                                              100% of fair market value, up to
                                                                                               any applicable statutory limit

         Miscellaneous Children's Clothing                                                                                            C.C.P. § 704.020
         Line from Schedule A/B: 11.2
                                                                             $585.00                                  $585.00
                                                                                              100% of fair market value, up to
                                                                                               any applicable statutory limit

         Jewelry                                                                                                                      C.C.P. § 704.040
         See attached Sch A/B, Item 12 detail
                                                                           $7,750.00                                $7,750.00
         sheet                                                                                100% of fair market value, up to
         Line from Schedule A/B: 12.1                                                          any applicable statutory limit

         French Bulldog                                                                                                               C.C.P. § 704.020
         Line from Schedule A/B: 13.1
                                                                              $50.00                                   $50.00
                                                                                              100% of fair market value, up to
                                                                                               any applicable statutory limit

         Yellow Labrador                                                                                                              C.C.P. § 704.020
         Line from Schedule A/B: 13.2
                                                                             $100.00                                  $100.00
                                                                                              100% of fair market value, up to
                                                                                               any applicable statutory limit

         Checking - 6946: U.S. Bank                                                                                                   C.C.P. § 704.080(c)
         Line from Schedule A/B: 17.8
                                                                           $2,015.94                                $2,015.94
                                                                                              100% of fair market value, up to
                                                                                               any applicable statutory limit

         IRA - 4787: Merrill Lynch                                                                                                    11 U.S.C. § 522(b)(3)(C)
         Line from Schedule A/B: 21.1
                                                                         $127,865.78                             $127,865.78
                                                                                              100% of fair market value, up to
                                                                                               any applicable statutory limit

         401(k): Bank of America                                                                                                      11 U.S.C. § 522(b)(3)(C)
         Line from Schedule A/B: 21.2
                                                                          $42,476.28                              $23,443.72
                                                                                              100% of fair market value, up to
                                                                                               any applicable statutory limit

         401(k) SIP: Merrill Lynch                                                                                                    11 U.S.C. § 522(b)(3)(C)
         Line from Schedule A/B: 21.3
                                                                                $0.00                                    $0.00
                                                                                              100% of fair market value, up to
                                                                                               any applicable statutory limit

         Franklin Templeton Franklin Founding                                                                                         11 U.S.C. § 541(b)(6)
         Funds §529 Portfolio for benefit of
                                                                          $23,670.45                              $23,670.45
         daughter                                                                             100% of fair market value, up to
         Line from Schedule A/B: 24.1                                                          any applicable statutory limit




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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Filed 06/04/19                                                                  Case 19-23604                                                                                Doc 1
     Debtor 1    Rachael Leigh Konz                                                                          Case number (if known)

         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Morgan Stanley initiated a levy of                                                                                           C.C.P. § 704.120
         Debtor's Wells Fargo bank account on
                                                                             $419.90                                  $419.90
         24-May-2019. The monies in account                                                   100% of fair market value, up to
         were disability benefits and exempt.                                                  any applicable statutory limit
         Line from Schedule A/B: 33.1

         Potential discrimination claim                                    Unknown                                                   C.C.P. § 704.140
         Line from Schedule A/B: 34.1
                                                                                              100% of fair market value, up to
                                                                                               any applicable statutory limit


     3. Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
               No
               Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                      No
                      Yes




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
Filed 06/04/19                                                                   Case 19-23604                                                                                   Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Rachael Leigh Konz
                                First Name                      Middle Name                     Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                     Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
    is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
    number (if known).
    1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
             Mercedes Benz Financial
     2.1                                                                                                            $69,096.22               $66,645.00            $2,451.22
             Services                                 Describe the property that secures the claim:
             Creditor's Name                          2018 Mercedes Benz AMG GLE 43
                                                      Coupe 10,500 miles
                                                      Leased Vehicle
                                                      As of the date you file, the claim is: Check all that
             PO Box 685                               apply.
             Roanoke, TX 76262                         Contingent
             Number, Street, City, State & Zip Code    Unliquidated
                                                       Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
      Debtor 1 only                                   An agreement you made (such as mortgage or secured
                                                           car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another         Judgment lien from a lawsuit
      Check if this claim relates to a                Other (including a right to offset)    Lease
           community debt

     Date debt was incurred                                    Last 4 digits of account number        2001




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
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Filed 06/04/19                                                                    Case 19-23604                                                                        Doc 1

     Debtor 1 Rachael Leigh Konz                                                                               Case number (if known)
                  First Name                  Middle Name                     Last Name


            Merrill Lynch Retirement
     2.2                                                                                                                $8,854.98       $42,476.28             $0.00
            Benefits Center                            Describe the property that secures the claim:
            Creditor's Name                            401(k): Bank of America

            1400 Merrill Lynch Drive
                                                       As of the date you file, the claim is: Check all that
            NJ2-140-50                                 apply.
            Pennington, NJ 08534                        Contingent
            Number, Street, City, State & Zip Code      Unliquidated
                                                        Disputed
     Who owes the debt? Check one.                     Nature of lien. Check all that apply.
      Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                            car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)    Loan
           community debt

     Date debt was incurred                                     Last 4 digits of account number


            Merrill Lynch Retirement
     2.3                                                                                                              $10,177.58        $42,476.28             $0.00
            Benefits Center                            Describe the property that secures the claim:
            Creditor's Name                            401(k): Bank of America

            1400 Merrill Lynch Drive
                                                       As of the date you file, the claim is: Check all that
            NJ2-140-50                                 apply.
            Pennington, NJ 08534                        Contingent
            Number, Street, City, State & Zip Code      Unliquidated
                                                        Disputed
     Who owes the debt? Check one.                     Nature of lien. Check all that apply.
      Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                            car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)    Loan
           community debt

     Date debt was incurred                                     Last 4 digits of account number




    Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 4
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Filed 06/04/19                                                                    Case 19-23604                                                                         Doc 1

     Debtor 1 Rachael Leigh Konz                                                                               Case number (if known)
                  First Name                  Middle Name                     Last Name


            Morgan Stanley Smith                                                                                                                      $1,084,680.4
     2.4                                                                                                           $1,493,680.43        $,000.00
            Barney LLC                                 Describe the property that secures the claim:                                                             3
            Creditor's Name                            573 Ramos Drive Folsom, CA 95630
                                                       Sacramento County
                                                       Debtor has 1/2 interest in residence
                                                       with her mother, who also resides
                                                       there.
                                                       As of the date you file, the claim is: Check all that
            1585 Broadway                              apply.
            New York, NY 10036                          Contingent
            Number, Street, City, State & Zip Code      Unliquidated
                                                        Disputed
     Who owes the debt? Check one.                     Nature of lien. Check all that apply.
      Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                            car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)
           community debt

     Date debt was incurred         01/24/19                    Last 4 digits of account number        0748

            Morgan Stanley Smith
     2.5                                               Describe the property that secures the claim:                     Unknown        $,000.00        Unknown
            Barney LLC
            Creditor's Name                            573 Ramos Drive Folsom, CA 95630
                                                       Sacramento County
                                                       Debtor has 1/2 interest in residence
                                                       with her mother, who also resides
                                                       there.
                                                       As of the date you file, the claim is: Check all that
            1585 Broadway                              apply.
            New York, NY 10036                          Contingent
            Number, Street, City, State & Zip Code      Unliquidated
                                                        Disputed
     Who owes the debt? Check one.                     Nature of lien. Check all that apply.
      Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                            car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)
           community debt

     Date debt was incurred         01/28/2019                  Last 4 digits of account number        1365




    Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3 of 4
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     Debtor 1 Rachael Leigh Konz                                                                               Case number (if known)
                  First Name                  Middle Name                     Last Name


     2.6    US Bank Home Mortgage                      Describe the property that secures the claim:                  $691,000.00             $1,100,000.00                   $0.00
            Creditor's Name                            573 Ramos Drive Folsom, CA 95630
                                                       Sacramento County
                                                       Debtor has 1/2 interest in residence
                                                       with her mother, who also resides
                                                       there.
                                                       As of the date you file, the claim is: Check all that
            PO Box 21948                               apply.
            Eagan, MN 55121                             Contingent
            Number, Street, City, State & Zip Code      Unliquidated
                                                        Disputed
     Who owes the debt? Check one.                     Nature of lien. Check all that apply.
      Debtor 1 only                                    An agreement you made (such as mortgage or secured
      Debtor 2 only                                        car loan)
      Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)
           community debt

     Date debt was incurred                                     Last 4 digits of account number        5923


       Add the dollar value of your entries in Column A on this page. Write that number here:                               $2,272,809.21
       If this is the last page of your form, add the dollar value totals from all pages.
       Write that number here:                                                                                              $2,272,809.21

     Part 2:    List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.

             Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.4
             Estela O. Pino
             Pino & Associates                                                                          Last 4 digits of account number
             20 Bicentennial Circle, Suite 200
             Sacramento, CA 95826

             Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.5
             Estela O. Pino
             Pino & Associates                                                                          Last 4 digits of account number
             20 Bicentennial Circle, Suite 200
             Sacramento, CA 95826

             Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.4
             Jaffe & Asher LLP
             600 Third Avenue, 9th Floor                                                                Last 4 digits of account number
             New York, NY 10016

             Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.5
             Jaffe & Asher LLP
             600 Third Avenue, 9th Floor                                                                Last 4 digits of account number
             New York, NY 10016




    Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                   page 4 of 4
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Filed 06/04/19                                                                       Case 19-23604                                                                                      Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Rachael Leigh Konz
                                First Name                      Middle Name                        Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                        Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                             amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
    Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
    left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
    name and case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.
     2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
           identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
           possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
           Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
           (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                            Total claim           Priority           Nonpriority
                                                                                                                                                  amount             amount
     2.1          Franchise Tax Board                                    Last 4 digits of account number                                  $0.00              $0.00                 $0.00
                  Priority Creditor's Name
                  Bankruptcy Section, MS: A-340                          When was the debt incurred?
                  PO Box 2952
                  Sacramento, CA 95812-2952
                  Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                               Unliquidated
             Debtor 2 only                                               Disputed
             Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

             At least one of the debtors and another                     Domestic support obligations
             Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
            Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                          Other. Specify
             Yes                                                                            Taxes




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 10
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Filed 06/04/19                                                                       Case 19-23604                                                                                          Doc 1
     Debtor 1 Rachael Leigh Konz                                                                               Case number (if known)

     2.2        Internal Revenue Service                                 Last 4 digits of account number                               $0.00                  $0.00                  $0.00
                Priority Creditor's Name
                PO Box 7346                                              When was the debt incurred?
                Philadelphia, PA 19101-7346
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                               Unliquidated
             Debtor 2 only                                               Disputed
             Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

             At least one of the debtors and another                     Domestic support obligations
             Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
            Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                          Other. Specify
             Yes                                                                            Taxes

     Part 2:       List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes.
     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
           Part 2.
                                                                                                                                                                  Total claim

     4.1        Aetna                                                      Last 4 digits of account number                                                                       $120.00
                Nonpriority Creditor's Name
                PO Box 14079                                               When was the debt incurred?
                Lexington, KY 40512-4079
                Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community                    Student loans
                debt                                                        Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                       Other. Specify




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 10
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Filed 06/04/19                                                                    Case 19-23604                                                                              Doc 1
     Debtor 1 Rachael Leigh Konz                                                                             Case number (if known)

     4.2      Bank of America                                            Last 4 digits of account number       4201                                          $54,393.03
              Nonpriority Creditor's Name
              PO Box 982234                                              When was the debt incurred?
              El Paso, TX 79998
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Merrill Lynch Credit Card


     4.3      Barclays                                                   Last 4 digits of account number       3643                                            $3,858.12
              Nonpriority Creditor's Name
              Card Services                                              When was the debt incurred?
              PO Box 8802
              Wilmington, DE 19899
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Credit Card Debt
               Yes                                                       Other. Specify     Visa


     4.4      BPE Law Group, P.C.                                        Last 4 digits of account number                                                         $529.45
              Nonpriority Creditor's Name
              2339 Gold Meadow Way, Suite 101                            When was the debt incurred?
              Gold River, CA 95670
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Legal Fees




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 10
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Filed 06/04/19                                                                    Case 19-23604                                                                              Doc 1
     Debtor 1 Rachael Leigh Konz                                                                             Case number (if known)

     4.5      Brinen & Associates, LLC                                   Last 4 digits of account number                                                       $2,134.16
              Nonpriority Creditor's Name
              90 Broad Street, Second Floor                              When was the debt incurred?
              New York, NY 10004
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Legal Fees


     4.6      Chevron Federal Credit Union                               Last 4 digits of account number       2746                                          $21,220.54
              Nonpriority Creditor's Name
              Cardmember Service                                         When was the debt incurred?
              PO Box 6354
              Fargo, ND 58125
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Credit Card Debt
               Yes                                                       Other. Specify     Visa


     4.7      Citi                                                       Last 4 digits of account number                                                     $16,284.19
              Nonpriority Creditor's Name
              PO Box 6500                                                When was the debt incurred?
              Sioux Falls, SD 57117
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Credit Card Debt




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 10
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     Debtor 1 Rachael Leigh Konz                                                                             Case number (if known)

     4.8      Comenity Bank                                              Last 4 digits of account number                                                       $2,061.57
              Nonpriority Creditor's Name
              Bankrupty Department                                       When was the debt incurred?
              PO Box 182125
              Columbus, OH 43218
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Credit Card Debt
               Yes                                                       Other. Specify     Restoration Hardware


     4.9      Deborah L. Culbertson                                      Last 4 digits of account number                                                     $79,963.40
              Nonpriority Creditor's Name
              573 Ramos Drive                                            When was the debt incurred?
              Folsom, CA 95630
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Personal Loan


     4.1
     0        Don O. Culbertson                                          Last 4 digits of account number                                                     $67,000.00
              Nonpriority Creditor's Name
              1790 Laurel Ridge Drive                                    When was the debt incurred?
              Reno, NV 89523
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Personal Loan




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 10
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     Debtor 1 Rachael Leigh Konz                                                                             Case number (if known)

     4.1
     1        Financial Industry Regulatory Authority                    Last 4 digits of account number                                                       $3,200.00
              Nonpriority Creditor's Name
              9509 Key West Avenue                                       When was the debt incurred?
              Rockville, MD 20850
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Arbitration Fees


     4.1
     2        Marrs Griebel Law, Ltd.                                    Last 4 digits of account number                                                       $5,956.00
              Nonpriority Creditor's Name
              1000 Gold Avenue SW.                                       When was the debt incurred?
              Albuquerque, NM 87102
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Legal Fees


     4.1
     3        Merrill Lynch, Pierce, Fenner & Smith                      Last 4 digits of account number                                                    $234,176.07
              Nonpriority Creditor's Name
              222 Broadway                                               When was the debt incurred?
              NY3-222-12-05
              New York, NY 10038
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Loan




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 6 of 10
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
Filed 06/04/19                                                                    Case 19-23604                                                                              Doc 1
     Debtor 1 Rachael Leigh Konz                                                                             Case number (if known)

     4.1
     4        Merrill Lynch, Pierce, Fenner & Smith                      Last 4 digits of account number                                                     $55,042.31
              Nonpriority Creditor's Name
              222 Broadway                                               When was the debt incurred?
              NY3-222-12-05
              New York, NY 10038
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Loan


     4.1
     5        Neira's Collision Centers, Inc.                            Last 4 digits of account number                                                       $3,000.00
              Nonpriority Creditor's Name
              5800 Gasoline Alley Drive                                  When was the debt incurred?
              Bakersfield, CA 93313-3741
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify

     4.1
     6        Nordstrom                                                  Last 4 digits of account number                                                     $25,328.69
              Nonpriority Creditor's Name
              PO Box 6555                                                When was the debt incurred?
              Englewood, CO 80155
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Credit Card Debt
               Yes                                                       Other. Specify     Nordstrom Visa




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 7 of 10
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Filed 06/04/19                                                                    Case 19-23604                                                                              Doc 1
     Debtor 1 Rachael Leigh Konz                                                                             Case number (if known)

     4.1
     7        Prestige Homes                                             Last 4 digits of account number                                                       $3,485.00
              Nonpriority Creditor's Name
              PO Box 1785                                                When was the debt incurred?
              Folsom, CA 95630
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify

     4.1
     8        Saks Fifth Avenue                                          Last 4 digits of account number       1007                                              $497.87
              Nonpriority Creditor's Name
              Attn: Customer Care                                        When was the debt incurred?
              3455 Hwy 80 West
              Jackson, MS 39209
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Credit Card Debt


     4.1
     9        Synchrony Bank                                             Last 4 digits of account number       3240                                              $644.28
              Nonpriority Creditor's Name
              Attn: Bankruptcy Dept                                      When was the debt incurred?
              PO Box 965064
              Orlando, FL 32896
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Credit Card Debt
               Yes                                                       Other. Specify     Crate & Barrel




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 8 of 10
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Filed 06/04/19                                                                    Case 19-23604                                                                                     Doc 1
     Debtor 1 Rachael Leigh Konz                                                                             Case number (if known)

     4.2
     0         US Bank                                                   Last 4 digits of account number                                                              $8,481.00
               Nonpriority Creditor's Name
               4325 17th Ave S                                           When was the debt incurred?
               Fargo, ND 58125
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                Debtor 1 only                                            Contingent
                Debtor 2 only                                            Unliquidated
                Debtor 1 and Debtor 2 only                               Disputed
                At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
               debt                                                       Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                No                                                       Debts to pension or profit-sharing plans, and other similar debts
                Yes                                                      Other. Specify

     4.2
     1         Wells Fargo                                               Last 4 digits of account number       5633                                                   $9,124.06
               Nonpriority Creditor's Name
               PO Box 10347                                              When was the debt incurred?
               Des Moines, IA 50306
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                Debtor 1 only                                            Contingent
                Debtor 2 only                                            Unliquidated
                Debtor 1 and Debtor 2 only                               Disputed
                At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
               debt                                                       Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                No                                                       Debts to pension or profit-sharing plans, and other similar debts
                Yes                                                      Other. Specify     Credit Card Debt

     Part 3:      List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.
     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Brinen & Associates, LLC                                      Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     7 Dey Street, Suite 1503                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
     New York, NY 10007
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Payment Resolution Services                                   Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     1009 Windcross Ct                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
     Franklin, TN 37067
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Rubin, Fortunato & Harbison P.C.                              Line 4.13 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
     10 South Leopard Road                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Paoli, PA 19301
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Rubin, Fortunato & Harbison P.C.                              Line 4.14 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
     10 South Leopard Road                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Paoli, PA 19301
                                                                   Last 4 digits of account number

    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 9 of 10
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Filed 06/04/19                                                                  Case 19-23604                                                                          Doc 1
     Debtor 1 Rachael Leigh Konz                                                                            Case number (if known)



     Part 4:      Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                               Total Claim
                            6a.   Domestic support obligations                                                6a.      $                     0.00
            Total
          claims
      from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.      $                     0.00
                            6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                            6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                            6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                     0.00

                                                                                                                               Total Claim
                            6f.   Student loans                                                               6f.      $                     0.00
            Total
          claims
      from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                                  you did not report as priority claims                                       6g.      $                     0.00
                            6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                                  here.                                                                                $              596,499.74

                            6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              596,499.74




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 10 of 10
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Filed 06/04/19                                                                Case 19-23604                                                                         Doc 1
     Fill in this information to identify your case:

     Debtor 1                 Rachael Leigh Konz
                              First Name                        Middle Name          Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name          Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules.     You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
    2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
           and unexpired leases.


               Person or company with whom you have the contract or lease              State what the contract or lease is for
                             Name, Number, Street, City, State and ZIP Code

         2.1      Mercedes Benz Financial Services                                        Automobile Lease
                  PO Box 685
                  Roanoke, TX 76262




    Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
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Filed 06/04/19                                                                       Case 19-23604                                                                     Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Rachael Leigh Konz
                                First Name                           Middle Name            Last Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name            Last Name


     United States Bankruptcy Court for the:                 EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                              12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
    people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
    fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
    your name and case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes
           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                     No
                     Yes.

                           In which community state or territory did you live?              -NONE-          . Fill in the name and current address of that person.


                           Name of your spouse, former spouse, or legal equivalent
                           Number, Street, City, State & Zip Code

       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
          Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
          out Column 2.

                    Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                          Check all schedules that apply:


        3.1         Deborah L. Culbertson                                                                    Schedule D, line        2.6
                    573 Ramos Drive                                                                          Schedule E/F, line
                    Folsom, CA 95630
                                                                                                             Schedule G
                                                                                                            US Bank Home Mortgage




    Official Form 106H                                                                  Schedule H: Your Codebtors                                       Page 1 of 1
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Filed 06/04/19                                                         Case 19-23604                                                                          Doc 1



     Fill in this information to identify your case:

     Debtor 1                      Rachael Leigh Konz

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                            Check if this is:
     (If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter
                                                                                                               13 income as of the following date:

     Official Form 106I                                                                                         MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                           12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                  Debtor 2 or non-filing spouse

            If you have more than one job,                               Employed                                 Employed
            attach a separate page with           Employment status
            information about additional                                 Not employed                             Not employed
            employers.
                                                  Occupation
            Include part-time, seasonal, or
            self-employed work.                   Employer's name

            Occupation may include student        Employer's address
            or homemaker, if it applies.


                                                  How long employed there?

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1       For Debtor 2 or
                                                                                                                             non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $             0.00     $               N/A

     3.     Estimate and list monthly overtime pay.                                             3.   +$             0.00     +$              N/A

     4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $          0.00            $        N/A




    Official Form 106I                                                       Schedule I: Your Income                                                page 1
Filed 06/04/19                                                       Case 19-23604                                                                                Doc 1


     Debtor 1   Rachael Leigh Konz                                                                    Case number (if known)



                                                                                                          For Debtor 1            For Debtor 2 or
                                                                                                                                  non-filing spouse
          Copy line 4 here                                                                     4.         $              0.00     $              N/A

     5.   List all payroll deductions:
          5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
          5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
          5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
          5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
          5e.    Insurance                                                                     5e.        $              0.00     $               N/A
          5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
          5g.    Union dues                                                                    5g.        $              0.00     $               N/A
          5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                           8a.        $              0.00     $               N/A
          8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
          8c. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                          8c.        $              0.00     $               N/A
          8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
          8e. Social Security                                                                  8e.        $              0.00     $               N/A
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify: Disability Insurance Payments                                        8f.  $            5,269.00   $                     N/A
          8g. Pension or retirement income                                                     8g. $                 0.00   $                     N/A
          8h. Other monthly income. Specify:                                                   8h.+ $                0.00 + $                     N/A

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          5,269.00         $               N/A

     10. Calculate monthly income. Add line 7 + line 9.                                    10. $              5,269.00 + $              N/A = $         5,269.00
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                  11. +$                   0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                        12.   $         5,269.00
                                                                                                                                              Combined
                                                                                                                                              monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
              No.
              Yes. Explain:




    Official Form 106I                                                      Schedule I: Your Income                                                      page 2
Filed 06/04/19                                                               Case 19-23604                                                                       Doc 1



      Fill in this information to identify your case:

      Debtor 1              Rachael Leigh Konz                                                                   Check if this is:
                                                                                                                  An amended filing
      Debtor 2                                                                                                    A supplement showing postpetition chapter
      (Spouse, if filing)                                                                                            13 expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA                                         MM / DD / YYYY

      Case number
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                             12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
             No. Go to line 2.
             Yes. Does Debtor 2 live in a separate household?
                   No
                   Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
      2.    Do you have dependents?              No
            Do not list Debtor 1 and
            Debtor 2.
                                                 Yes.   Fill out this information for
                                                         each dependent..............
                                                                                         Dependent’s relationship to
                                                                                         Debtor 1 or Debtor 2
                                                                                                                           Dependent’s
                                                                                                                           age
                                                                                                                                           Does dependent
                                                                                                                                           live with you?

            Do not state the                                                                                                                No
            dependents names.                                                            Daughter                          11               Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
      3.    Do your expenses include
            expenses of people other than
                                                        No
            yourself and your dependents?               Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                     Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                          1,660.00

            If not included in line 4:

            4a. Real estate taxes                                                                               4a.    $                         573.00
            4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                          60.00
            4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                         300.00
            4d. Homeowner’s association or condominium dues                                                     4d.    $                          85.00
      5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                           0.00




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      Debtor 1     Rachael Leigh Konz                                                                        Case number (if known)

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                     6a. $                                                450.00
            6b. Water, sewer, garbage collection                                                   6b. $                                                105.42
            6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                480.00
            6d. Other. Specify:                                                                    6d. $                                                  0.00
      7.    Food and housekeeping supplies                                                           7. $                                             1,950.00
      8.    Childcare and children’s education costs                                                 8. $                                               333.00
      9.    Clothing, laundry, and dry cleaning                                                      9. $                                               250.00
      10.   Personal care products and services                                                    10. $                                                445.00
      11.   Medical and dental expenses                                                            11. $                                                700.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                           12. $                                                 100.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 150.00
      14.   Charitable contributions and religious donations                                       14. $                                                  50.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                  15a. $                                                   0.00
            15b. Health insurance                                                                15b. $                                               1,343.68
            15c. Vehicle insurance                                                               15c. $                                                 144.28
            15d. Other insurance. Specify: LTD Unum                                              15d. $                                                  54.91
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify:                                                                               16. $                                                    0.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                      17a. $                                               1,113.08
            17b. Car payments for Vehicle 2                                                      17b. $                                                   0.00
            17c. Other. Specify:                                                                 17c. $                                                   0.00
            17d. Other. Specify:                                                                 17d. $                                                   0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
      19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
            Specify:                                                                               19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                     20a. $                                                     0.00
            20b. Real estate taxes                                                               20b. $                                                     0.00
            20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
            20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
            20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
      21.   Other: Specify:                                                                        21. +$                                                   0.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                     $                      10,347.37
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      10,347.37
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,269.00
          23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             10,347.37

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                           23c. $                             -5,078.37

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
             No.
             Yes.              Explain here: Debtor's mother has been covering Debtor's share of mortgage and other residence expenses since
                                December, 2018.




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     Fill in this information to identify your case:

     Debtor 1                 Rachael Leigh Konz
                              First Name                        Middle Name                  Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name                  Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                   amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                  4/19
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.

     Part 1:        Give Details About Your Marital Status and Where You Lived Before

    1.     What is your current marital status?

                 Married
                 Not married

    2.     During the last 3 years, have you lived anywhere other than where you live now?

                 No
                 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                                Dates Debtor 2
                                                                     lived there                                                                       lived there

    3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                 No
                 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

     Part 2         Explain the Sources of Your Income

    4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
           Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                 No
                 Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income               Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                        exclusions)                                                    and exclusions)

     From January 1 of current year until               Wages, commissions,                               $0.00        Wages, commissions,
     the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips
                                                        Operating a business                                           Operating a business




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     Debtor 1      Rachael Leigh Konz                                                                          Case number (if known)



                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income        Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.    (before deductions
                                                                                        exclusions)                                             and exclusions)

     For last calendar year:
     (January 1 to December 31, 2018 )
                                                        Wages, commissions,                        $60,620.22          Wages, commissions,
                                                       bonuses, tips                                                   bonuses, tips

                                                        Operating a business                                           Operating a business

     For the calendar year before that:
     (January 1 to December 31, 2017 )
                                                        Wages, commissions,                       $109,100.69          Wages, commissions,
                                                       bonuses, tips                                                   bonuses, tips

                                                        Operating a business                                           Operating a business


    5.    Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
          and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
          winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

               No
               Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income from              Sources of income        Gross income
                                                       Describe below.                  each source                    Describe below.          (before deductions
                                                                                        (before deductions and                                  and exclusions)
                                                                                        exclusions)
     From January 1 of current year until Leave Pay, Employee                                       $52,018.78
     the date you filed for bankruptcy:   Benefits, Service
                                                       Bonus, § 529
                                                       Distributions, Disability
                                                       Payments, Family
                                                       Contributions

     For last calendar year:                           Leave Pay, Employee                         $189,573.30
     (January 1 to December 31, 2018 )                 Benefits, Service
                                                       Bonus, IRA
                                                       Distribution, Family
                                                       Loans, Family
                                                       Contributions

     For the calendar year before that:                Employee Benefits;                          $133,401.29
     (January 1 to December 31, 2017 )                 Service Bonus, MetLife
                                                       Disability Settlement
                                                       Payment


     Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

    6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
               No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                        individual primarily for a personal, family, or household purpose.”

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                             No.      Go to line 7.
                             Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                     paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                     not include payments to an attorney for this bankruptcy case.
                         * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


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     Debtor 1      Rachael Leigh Konz                                                                          Case number (if known)




               Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                             No.      Go to line 7.
                             Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                       include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                       attorney for this bankruptcy case.


           Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                         paid            still owe

    7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
          of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
          a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
          alimony.

               No
               Yes. List all payments to an insider.
           Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                         paid            still owe
           Deborah L. Culbertson                                     April 2019                       $700.00          $79,963.40       Out of Pocket Medical Costs
           573 Ramos Drive
           Folsom, CA 95630

           Deborah L. Culbertson                                     May 2019                         $850.00          $79,963.40       Out of Pocket Medical Costs
           573 Ramos Drive
           Folsom, CA 95630


    8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

               No
               Yes. List all payments to an insider
           Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                         paid            still owe      Include creditor's name

     Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

    9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
          modifications, and contract disputes.

               No
               Yes. Fill in the details.
           Case title                                                Nature of the case         Court or agency                         Status of the case
           Case number
           Rachael Leigh Konz                                        Civil                      USDC for Southern District of              Pending
           v.                                                                                   New York                                   On appeal
           Morgan Stanley Smith Barney LLC                                                      500 Pearl Street
           and                                                                                  New York, NY 10007
                                                                                                                                           Concluded

           Morgan Stanely Smith Barney FA
           Notes Holdings, LLC
           18-CV-05181-GBD




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           Case title                                                Nature of the case           Court or agency                        Status of the case
           Case number
           Rachael Leigh Konz                                        Civil                        US District Court for Eastern             Pending
           v.                                                                                     California                                On appeal
           Morgan Stanley Smith Barney LLC                                                        501 I Street
           and                                                                                    Sacramento, CA 95814
                                                                                                                                            Concluded

           Morgan Stanley Smith Barney FA
           Notes Holdings, LLC
           2:19-mc-00007-WBS-KJN


    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

               No. Go to line 11.
               Yes. Fill in the information below.
           Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                                 property
                                                                     Explain what happened
           Department of Justice                                     Wells Fargo Checking ending in 2315                          24-May-2019                    $419.90

                                                                      Property was repossessed.
                                                                      Property was foreclosed.
                                                                      Property was garnished.
                                                                      Property was attached, seized or levied.

    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
               No
               Yes. Fill in the details.
           Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                                  taken

    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?

               No
               Yes

     Part 5:      List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
               No
               Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600                        Describe the gifts                                   Dates you gave                    Value
           per person                                                                                                             the gifts

           Person to Whom You Gave the Gift and
           Address:

    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
               Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                    Describe what you contributed                        Dates you                         Value
           more than $600                                                                                                         contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)
           Various                                                           Clothing, Housewares, Donations                      2017                         $4,820.00




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           Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
           more than $600                                                                                                         contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)
           Rolling Hills Church                                          Cash Donations                                           2018                     $1,200.00



     Part 6:      List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
        or gambling?

               No
               Yes. Fill in the details.
           Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
           how the loss occurred                                                                                                  loss                           lost
                                                                Include the amount that insurance has paid. List pending
                                                                insurance claims on line 33 of Schedule A/B: Property.

     Part 7:      List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

               No
               Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
           Address                                                       transferred                                              or transfer was           payment
           Email or website address                                                                                               made
           Person Who Made the Payment, if Not You
           Dahl Law                                                      Chapter 7 fixed fee                                      22-Mar-2019              $8,000.00
           2304 N Street
           Sacramento, CA 95816
           www.dahllaw.net
           Deborah L. Culbertson

           CC Advising, Inc.                                             Pre-Filing Credit Counseling Course                      31-Mar-2019                    $9.76
           703 Washington Ave, Suite 200
           Bay City, MI 48708
           ccadvising.com


           Dahl Law                                                      Chapter 7 fixed fee                                      21-Mar-2019;               $335.00
           2304 N Street                                                                                                          14-May-2019
           Sacramento, CA 95816
           www.dahllaw.net


    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

               No
               Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
           Address                                                       transferred                                              or transfer was           payment
                                                                                                                                  made




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    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
        include gifts and transfers that you have already listed on this statement.
         No
               Yes. Fill in the details.
           Person Who Received Transfer                                  Description and value of                   Describe any property or      Date transfer was
           Address                                                       property transferred                       payments received or debts    made
                                                                                                                    paid in exchange
           Person's relationship to you
           Deborah L. Culbertson                                         Debtor's interest in 573 Ramos             To date, D. Culbertson        Various
           573 Ramos Drive                                               Drive adjusted in favor of                 has provided financial
           Folsom, CA 95630                                              co-tenant equal to financial               contributions/assistance to
                                                                         contributions/assistance                   Debtor of approximately
           Mother                                                        provided to Debtor.                        $79,963.40 to cover
                                                                                                                    Debtor's legal fees,
                                                                                                                    mortgage payments and
                                                                                                                    other various expenses.


    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)
               No
               Yes. Fill in the details.
           Name of trust                                                 Description and value of the property transferred                        Date Transfer was
                                                                                                                                                  made

     Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.
         No
               Yes. Fill in the details.
           Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was           Last balance
           Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,          before closing or
           Code)                                                                                                            moved, or                       transfer
                                                                                                                            transferred
           Franklin Templeton Investments                            XXXX-5752                  Checking                   1-Mar-2019                    $1,010.00
                                                                                                Savings
                                                                                                Money Market
                                                                                                Brokerage
                                                                                               
                                                                                               Other Government
                                                                                               Money § 529
                                                                                               Portfolio


    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

               No
               Yes. Fill in the details.
           Name of Financial Institution                                 Who else had access to it?            Describe the contents                Do you still
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                             have it?
                                                                         State and ZIP Code)




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    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

               No
               Yes. Fill in the details.
           Name of Storage Facility                                      Who else has or had access                 Describe the contents          Do you still
           Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 9:      Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

               No
               Yes. Fill in the details.
           Owner's Name                                                  Where is the property?                     Describe the property                      Value
           Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                         Code)

           Daughter                                                      Wells Fargo Bank                           Wells Fargo Savings Account                $0.29
                                                                                                                    ending in 7610

           Daughter                                                      Franklin Templeton                         Franklin Templeton Franklin        $23,670.45
                                                                         Investments                                Founding Funds § 529 College
                                                                         3344 Quality Drive                         Saving Plan
                                                                         PO Box 2258
                                                                         Rancho Cordova, CA
                                                                         95741


     Part 10:     Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

         Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
          regulations controlling the cleanup of these substances, wastes, or material.
         Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
          to own, operate, or utilize it, including disposal sites.
         Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
          hazardous material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

               No
               Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    25. Have you notified any governmental unit of any release of hazardous material?

               No
               Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
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Filed 06/04/19                                                                  Case 19-23604                                                                            Doc 1
     Debtor 1      Rachael Leigh Konz                                                                          Case number (if known)



    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

               No
               Yes. Fill in the details.
           Case Title                                                    Court or agency                       Nature of the case                    Status of the
           Case Number                                                   Name                                                                        case
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 11:     Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation
               No. None of the above applies. Go to Part 12.
               Yes. Check all that apply above and fill in the details below for each business.
           Business Name                                             Describe the nature of the business             Employer Identification number
           Address                                                                                                   Do not include Social Security number or ITIN.
           (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed

    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

               No
               Yes. Fill in the details below.
           Name                                                      Date Issued
           Address
           (Number, Street, City, State and ZIP Code)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8
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Filed 06/04/19                                                                Case 19-23604                                                                      Doc 1


     Fill in this information to identify your case:

     Debtor 1                  Rachael Leigh Konz
                               First Name                       Middle Name               Last Name

     Debtor 2
     (Spouse if, filing)       First Name                       Middle Name               Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
     creditors have claims secured by your property, or
     you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
            on the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
             sign and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
            write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                                   secures a debt?                                    as exempt on Schedule C?



        Creditor's         Mercedes Benz Financial Services                    Surrender the property.                           No
        name:                                                                  Retain the property and redeem it.
                                                                               Retain the property and enter into a              Yes
        Description of        2018 Mercedes Benz AMG GLE                        Reaffirmation Agreement.
        property              43 Coupe 10,500 miles                            Retain the property and [explain]:
        securing debt:        Leased Vehicle

     Part 2:   List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
    in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
    You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                       Will the lease be assumed?

     Lessor's name:                                                                                                            No
     Description of leased
     Property:                                                                                                                 Yes

     Lessor's name:                                                                                                            No
     Description of leased
     Property:                                                                                                                 Yes

     Lessor's name:                                                                                                            No

    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

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Filed 06/04/19                                                               Case 19-23604                                                                    Doc 1


     Debtor 1      Rachael Leigh Konz                                                                    Case number (if known)


     Description of leased
     Property:                                                                                                                       Yes

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes




    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                              page 2

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Filed 06/04/19                                                                   Case 19-23604                                                                                  Doc 1


     Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
     Debtor 1              Rachael Leigh Konz
     Debtor 2
     (Spouse, if filing)
                                                                                                          1. There is no presumption of abuse
     United States Bankruptcy Court for the:            Eastern District of California                    2. The calculation to determine if a presumption of abuse
                                                                                                                 applies will be made under Chapter 7 Means Test
                                                                                                                 Calculation (Official Form 122A-2).
     Case number
     (if known)
                                                                                                          3. The Means Test does not apply now because of
                                                                                                                 qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
    attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
    case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
    qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:           Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
              Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                      penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                      living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
        the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
        spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A                 Column B
                                                                                                           Debtor 1                 Debtor 2 or
                                                                                                                                    non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                               $                                       $
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                             $                                       $
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                                       $
      5. Net income from operating a business, profession, or farm
                                                                           Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                        -$
            Net monthly income from a business, profession, or farm $                        Copy here -> $                         $
      6. Net income from rental and other real property
                                                                                         Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                        -$
            Net monthly income from rental or other real property            $               Copy here -> $                         $
                                                                                                           $                        $
      7. Interest, dividends, and royalties




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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     Fill in this information to identify your case:

     Debtor 1            Rachael Leigh Konz

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the:            Eastern District of California

     Case number                                                                                     Check if this is an amended filing
     (if known)



    Official Form 122A - 1Supp
    Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                      12/15

    File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
    exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
    exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
    required by 11 U.S.C. § 707(b)(2)(C).

     Part 1:       Identify the Kind of Debts You Have

      1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
         personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
         Individuals Filing for Bankruptcy (Official Form 1).

            No.      Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                      supplement with the signed Form 122A-1.
            Yes.     Go to Part 2.


     Part 2:       Determine Whether Military Service Provisions Apply to You

      2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
            No.      Go to line 3.
            Yes.     Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                      10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.        Go to line 3.
                  Yes.       Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                              submit this supplement with the signed Form 122A-1.

      3. Are you or have you been a Reservist or member of the National Guard?
            No. Complete Form 122A-1. Do not submit this supplement.
            Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
               No. Complete Form 122A-1. Do not submit this supplement.
               Yes. Check any one of the following categories that applies:
                                                                                                 If you checked one of the categories to the left, go to Form
                             I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                              90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                                 submit this supplement with the signed Form 122A-1. You
                             I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                              90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                              which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                                 homeland defense activity, and for 540 days afterward. 11
                             I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                             I performed a homeland defense activity for at least 90 days,
                                                                                                    If your exclusion period ends before your case is closed,
                              ending on                  , which is fewer than 540 days before I
                                                                                                    you may have to file an amended form later.
                              file this bankruptcy case.




    Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                  page 1
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                   1             2
                       Walter R. Dahl, CSB No. 102186 [wdahl@DahlLaw.net]
                   2   DAHL LAW
                       2304 “N” Street
                   3   Sacramento, CA 95816-5716
                   4   Telephone: (916) 446-8800
                       Telecopier: (916) 741-3346
                   5
                       Counsel for Rachael Leigh Konz
                   6
                   7
                   8
                                                        UNITED STATES BANKRUPTCY COURT
                   9                                     EASTERN DISTRICT OF CALIFORNIA
                                                             SACRAMENTO DIVISION
                  10
                  11
                        In Re:                                                   Case No.:
                  12
                        Rachael Leigh Konz,
                  13
                        573 Ramos Drive, Folsom, CA 95630
                  14    TIN: xxx-xx-4848

                  15
                                                         Debtor(s).
                  16
                  17
                  18                                ATTORNEY’S DISCLOSURE OF COMPENSATION
                                                     [11 U.S.C. §329(a); Fed. R. Bank. P. 2016(b)]
                  19
                       The undersigned, pursuant to 11 U.S.C. §329(a) and Fed. R. Bank. P. 2016(b), states:
                  20
                       1. Dahl Law (“Counsel”), is the attorney for Debtor(s) in this case.
                  21
                       2. The compensation paid to Counsel within one year before the filing of the petition in bankruptcy,
                  22   or agreed to be paid to Counsel, is as follows:
                  23             a. For legal services rendered or to be rendered on behalf of Debtor(s) in contemplation of and
                                 in connection with this case:
                  24
                                         A fixed fee of $8,335.00, which includes the filing fee.
                  25                     An indeterminate fee to be computed at Counsel’s standard hourly rates and costs.
                  26             b. Prior to the date of this Statement, Counsel has received the sum of $8,335.00.
                  27                     Of that sum, $                 was paid to Counsel for pre-petition legal services not
                                        directly in connection with this case, and billed pre-petition to Debtor(s) at Counsel’s
                  28                    standard hourly rates and costs.
   DAHL LAW
 SACRAMENTO, CA                                                             1
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             1            c. The unpaid balance due and payable is:
             2                    $ 0.00               .
                                  Not determinable at this time.
             3
                 3. From the funds tendered to Counsel disclosed above, Counsel has paid the filing fee of:
             4
                           $ 335.00            [Chapter 7]
             5             $1,717.00           [Chapter 11]
                           $ 310.00            [Chapter 13]
             6
                 4. The source of payments made to Counsel was from:
             7
                           Debtor(s)
             8             Other [specify]: Deborah L. Culbertson .
             9   5. The source of payments to be made to Counsel for the unpaid balance remaining, if any, will be from:
           10              Debtor(s)
                           Other [specify]:   not applicable                                        .
           11
                 6. Other than the payments referenced above, Counsel has received no transfer, assignment or pledge
           12    of property from or on behalf of Debtor(s) except the following for the value stated:
           13              None
           14              Counsel has been granted a security interest in all funds held by Counsel as an advance,
                          retainer or periodic payment toward attorneys fees and costs incurred or to be incurred in its
           15             representation of Debtor(s).
           16              Other [specify]                                                              .
           17    7. Counsel has not shared or agreed to share with any other entity, other than with members and
                 employees of Counsel, any compensation paid or to be paid except as follows:
           18
                           None
           19              Other [specify & attach agreement]                                               .
           20
           21    Dated:    June 4, 2019                                 DAHL LAW
           22
           23                                                           By: /s/ Walter R. Dahl
                                                                              Walter R. Dahl
           24                                                           Counsel for Rachael Leigh Konz
           25
           26
           27
           28
                                                                    2
